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                              EXHIBIT B
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  04I hereby certify that this correspondence is being filed via                                                     PATENT
  EFS-Web with the United States Patent and Trademark Office
                                                                                            Attorney Docket No.: 042342.000036
  on           August 7, 2017
                                                                                                    Lyft Ref. No. L010.NPUS00
  HOGAN LOVELLS US LLP

  By:         /Kalyn Roades/



                      IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

  In re application of:                                            Confirmation No.: 1050

           Ethan Duncan Eyler                                      Examiner: Allen, Akiba Kanelle

  Application No.: 15/396,417                                      Art Unit: 3628

  Filed: December 30, 2016

  For: IDENTIFING MATCHED
        REQUESTORS AND PROVIDERS

  Customer No.: 143902                                             AMENDMENT


  Mail Stop Amendment
  Commissioner for Patents
  P.O. Box 1450
  Alexandria, VA 22313-1450



  Commissioner:

                           In response to the Non-Final Office Action mailed May 5, 2017, please enter the
  following amendments and remarks.

                           Amendments to the Claims are reflected in the listing of claims which begins on
  page 2 of this paper.

                           Remarks/Arguments begin on page 9 of this paper.




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                                                        Remarks

                           This paper is responsive to the Office Action mailed May 5, 2017. Claims 1-22
  were pending before submission of this paper. Claims 1, 12, and 19 are in independent form.

                           The Office Action rejects claims 1-22 under 35 U.S.C. § 101 because the claimed
  invention is allegedly directed to a judicial exception (i.e., a law of nature, a natural
  phenomenon, or an abstract idea) without significantly more.

                           The Office Action additionally rejects claims 1, 5-8, 10, 12, 15, 17-19, 21, and 22
  under 35 U.S.C. § 103 for allegedly being unpatentable over Lubeck (U.S. Publication No.
  20160293012) in view of Magazinik (U.S. Publication No. 20170052034). Applicant
  additionally notes that the Office Action appears to inadvertently allege unpatentability of claims
  1-22 over Lubeck in view of Magazinik. Office Action, 4: ¶6. This allegation appears inadvertent
  because no analysis is provided to claims 2-4, 9, 11, 13, 14, 16, and 20 under this combination of
  art. Instead, these claims are alleged as unpatentable in view of other combinations of art as
  recited below.

                           The Office Action rejects claims 2, 13, and 16 under 35 U.S.C. § 103 for
  allegedly being unpatentable over Lubeck in view of Magazinik, further in view of Konig (U.S.
  Publication No. 20150339923). Applicant notes that the rejection to claim 16 appears
  inadvertently left out of the section heading for this rejection. Office Action, 15: ¶7.

                           The Office Action rejects claims 3, 4, 9, 14, and 20 under 35 U.S.C. § 103 for
  allegedly being unpatentable over Lubeck in view of Magazinik, further in view of Konig, and
  further in view of Pavlov (U.S. Publication No. 20080114629). Applicant notes that the rejection
  to claims 14 and 20 appear inadvertently left out of the section heading for this rejection. Office
  Action, 29: ¶9.

                           The Office Action rejects claim 11 under 35 U.S.C. § 103 for allegedly being
  unpatentable over Lubeck in view of Magazinik, further in view of Konig, and further in view of
  Ikeda (U.S. Publication No. 201600117610).

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                           Without acquiescing to the Office Action's characterizations of the claims, this
  paper amends claims 1-6, 7, 9, 10, 12-14, 16-20, and 22. No claims have been added or
  cancelled. After entry of this paper, claims 1-22 remain pending for the Examiner's present
  consideration. Support for the amended claims can be found at least at paragraphs [0030] and
  [0031] of the specification, as well as the corresponding drawings. Thus, no new matter has been
  added. Reconsideration of the claims, in view of the amendments and the following remarks, is
  respectfully requested.

  I.          Examiner Interview

                           Applicant thanks Examiner Robinson-Boyce for the courtesies extended in
  conducting a telephone Examiner Interview on July 14, 2017 with the undersigned client's
  representative. Client counsel, Nair Flores and Carl Bowers also participated in the interview. In
  the interview, the rejections under 35 U.S.C. §§ 101 and 103 were discussed in detail. Agreement
  was reached that claims substantially similar to those submitted herein overcome the section 103
  rejection. No agreement was reached with respect to the section 101 rejection. The Examiner,
  however, provided valuable feedback and suggestions to overcome the section 101 rejection and
  Applicant appreciates the Examiner's helpful feedback and suggestions, and presents this
  response accordingly.

  II.         The Pending Claims Are Directed To Patent Eligible Subject Matter

                           The Office Action rejects claims 1-22 under 35 U.S.C. § 101 because the claimed
  invention is allegedly directed to a judicial exception (i.e., a law of nature, a natural
  phenomenon, or an abstract idea) without significantly more. As discussed in the Examiner
  Interview, Applicant respectfully traverses this rejection because the claims are not merely
  directed to an abstract idea and include significantly more than any alleged abstract idea.

            A.           Independent Claim 1
                           Claim 1, as amended, recites:
                                       A method comprising:

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                                   sending, by a dynamic transportation matching system, transport
                           request information to a provider computing device of the provider, the
                           transport request information including a request location associated with
                           a requestor computing device;
                                   determining, by the dynamic transportation matching system, an
                           estimated arrival time for the provider;
                                   selecting, by the dynamic transportation matching system, an
                           identification element from one or more available identification elements
                           based on the estimated arrival time, the identification element
                           corresponding to at least one of an augmented reality presentation, an
                           audio/visual presentation, or a vibration pattern; and
                                   sending the identification element to the requestor computing
                           device and the provider computing device, the identification element
                           enabling dynamic presentation of information associated with the
                           identification element via a user interface of each of the requestor
                           computing device and the provider computing device.

                           Initially, Applicant submits that claim 1 is amended to recite features not
  previously considered in the Office Action's analysis under section 101. Further, Applicant
  maintains that the claims are not directed to merely "collecting information, analyzing it, and
  displaying certain results of the collection and analysis," as alleged in the Office Action. Office
  Action, 2. Claim 1 also recites significantly more than an abstract, mental, or manual process that
  is not presently in the Office Action's considerations of case law from the USPTO Subject
  Matter Eligibility Memoranda. See Office Action, 2-3; also, May 4, 2016, and November 2, 2016
  USPTO Memoranda Re. Subject Matter Eligibility Case Analysis.

              a.           The Claims Are Not Directed to An Abstract Idea, And Amount to An Inventive
                           Concept For Resolving A Particular Network-Centric Problem.

                           As discussed during the Examiner Interview, amended claim 1 describes a system
  that improves on-demand transportation matching systems and their corresponding computer-
  human interfaces by sending an identification element that is selected based on the estimated
  arrival time of a provider to a request location; where the identification element corresponds to at
  least one of an augmented reality presentations, an audio/visual presentation, or a vibration
  pattern; where the identification element is sent to a matched requestor computing device and
  provider computing device; and where the selected identification element enables dynamic
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  presentation of information associated with the identification element via a user interface of each
  of the requestor computing device and the provider computing device. See claim 1.
                           For example, the Specification explains that embodiments resolve an issue where,
  in on-demand matching systems, when multiple providers and requestors exist at a point of
  service, it is difficult for providers and requestors to identify one another at the point of service
  and such difficulty leads to fraud and safety problems:
                           However, as the services have become more prevalent, and more
                           users are interacting with such services, it can be difficult to
                           identify which service provider is associated with a requestor at a
                           request location. This leads to inefficient resource allocation as the
                           misidentification of service providers and requestors at a request
                           location leads to canceled and duplicated requests as well as
                           mistaken matches between requestors and providers at a request
                           location

  Specification, ¶ [0002]; also:

                           On-demand services that are accessed through mobile devices are
                           becoming more prevalent. However, due to the distributed nature
                           of unknown providers and requestors being matched by an on-
                           demand matching system, it can be difficult for providers and
                           requestors to identify one another at the point of service. This
                           leads to misidentification and mismatching of providers and
                           requestors at the point of service. For example, multiple requestors
                           may request services in the same area and may have trouble
                           identifying whether a service provider is associated with their
                           request or another request. Similarly, it can be difficult for a
                           provider to identify which of multiple requestors is associated with
                           a request. The mismatching of providers and requestors leads to
                           increased data processing and system communications as
                           requestors cancel requests, place new requests, and require account
                           corrections. Furthermore, mismatched requestors and providers
                           also lead to fraud and safety problems as mismatched requestors
                           may obtain goods and services without paying and the safety
                           features of the system rely on the correct identification and
                           matching of requestors and providers.

  Specification, ¶ [0023]. Accordingly, embodiments described in amended claim 1 utilize
  identification elements that are sent to both, the requestor and the provider, via their respective

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  computing devices. See claim 1. The identification elements then enable dynamic presentation of
  information associated with the identification element via a user interface of the corresponding
  computing device. Id. In an example, the identification elements can correspond to at least an
  augmented reality presentation, an audio/visual presentation, or a vibration pattern, where the
  audio/visual presentation can include a color, a pattern, an image, a sound, holograms, or a
  pattern of colors. Id; Specification, III [0030] and [0031].
                           Such a concept, as described above, is not similar to claims in the cases identified
  in the Office Action as being patent ineligible. For example, the Office Action cites to Electric
  Power Group in its analysis of present claim 1, but in Electric Power Group the Federal Circuit
  determined that the "claims . . . do not even require a new source or type of information, or new
  techniques for analyzing it [and as] a result, they do not require an arguably inventive set of
  components or methods, such as measurement devices or techniques, that would generate new
  data." Electric Power Group, 1355. In contrast to the claims in Electric Power Group, the
  present claim includes selecting an "identification element from one or more available
  identification elements based on the estimated arrival time, the identification element
  corresponding to at least one of an augmented reality presentation, an audio/visual presentation,
  or a vibration pattern" and that "the identification element enables dynamic presentation of
  information associated with the identification element via a user interface of each of the
  requestor computing device and the provider computing device." See Claim 1. The identification
  element that relies on an augmented reality presentation, an audio/visual presentation, or a
  vibration pattern is at least a new source or type of information or new technique of analyzing
  matches between riders and providers in an on-demand ride matching system. Further, this new
  information is used to enable dynamic presentation of information associated with the
  identification element via a user interface of each of the requestor computing device and the
  provider computing device. As such, claim 1 is akin to DDR Holdings and Enfish where the
  claims improve a system to resolve a computer-specific issue and/ improve a way a computer
  functions.
              In an example, of resolving the computer-specific issue identified in computer networks
  for this application, a computer managing and matching requests from riders can be used to
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  identify an accurate match for each of the requestors to their corresponding provider using such
  identification elements noted above. For example, paragraph [0030] of the specification discloses
  that providers and requesters "may be matched and both parties may receive an identification
  element corresponding to a color, pattern, image, and/or pattern of colors to be presented on a
  display of the corresponding computing device." Applicant submits, therefore, that such a
  process — to "select[] an identification element from one or more available identification
  elements based on the estimated arrival time" and to "send[] the identification element to the
  requestor computing device and the provider computing device, the identification element
  enabling dynamic presentation of information via a user interface of each of the requestor
  computing device and the provider computing device" — is not abstract, mental, or manual.
                           Similar to DDR Holdings, independent claim 1 of the present application
  addresses the computer and network-specific challenge of accurately and efficiently locating
  riders at a point of service through a distributed, on demand ride matching system. Dynamic, on-
  demand matching systems create new and unique problems for providing services at a point of
  service. For example, requestors and providers are anonymously connected through distributed
  computing devices and do not communicate prior to meeting at a point of service. The process of
  interfacing such anonymous providers and requestors can prove difficult with respect to
  identifying specific vehicles at the point of service. For instance, as explained at paragraphs
  [0002] and [0023] of the specification, there may be multiple providers and requestors at the
  same location and it may be difficult to identify and/or verify the correct matched provider for a
  requestor.
                           Accordingly, embodiments provide limited, specific, and technical solutions to a
  problem arising out of providing services through on-demand transportation matching systems
  incorporating distributed and remote computing devices. Moreover, by providing selected
  identification elements to human-machine interfaces for the requestor and the provider,
  embodiments of the present claims determine and communicate identification information that is
  quickly and easily interpretable and understandable for the parties at a time when multiple
  providers and multiple requestors are present at the same or similar location. Accordingly,
  identifying and validating matched requestors and providers at the point of service is easier,
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  interactions between requestors with providers are faster, and fewer mistaken or fraudulent rides
  are provided. As such, network communications are minimized and the effectiveness of the on-
  demand matching system is increased. For example, specific providers and specific requestors do
  not need to call each other to identify their intended matches and can easily find and validate one
  another at the point of service. This results in fewer canceled rides, fraudulent activity, or safety
  issues due to delay or mistaken identification at a point of service. Specification, ¶ [0023]. This
  additionally results in minimized communication resource usage and increases throughput of the
  on-demand matching system as more resources are available for additional requests. Id.
                           Thus, the claimed solution is "necessarily rooted in computer technology in order
  to overcome a problem specifically arising in the realm of computer networks" and is an
  inventive concept that allows a system to more efficiently and accurately function. DDR
  Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245 CAFC (2014); Trading Tech v CQG, Appeal
  No. 2016-1616, 6-7 (Fed. Cir. 2017). As such, independent claim 1, as amended, clarifies that its
  techniques are rooted in computer technology in order to overcome a technological problem and
  provides improvements to the human-machine interface of an on-demand transportation
  matching system. Claim 1 is at least non-abstract for these reasons, under step 1 of Alice. Alice
  Corp. v. CLS Bank International, 134 S. Ct. at 2357 (2014); also, CLS Bank Intern. v. Alice
  Corp. Pty. Ltd., 717 F. 3d 1269, 2355 CAFC (2013).

              b.           The Claims Recite Significantly More Than The Alleged Abstract Idea

                           Also as discussed in the Examiner Interview, claim 1 at least includes additional
  elements that are sufficient to amount to significantly more than the alleged judicial exception.
  An alleged lack of improvement to generic computer functions is not dispositive of the inquiry
  regarding whether the claims are directed to an abstract idea; rather, it is merely an example of
  what additional evaluation may be required to determine that there is "significantly more" than
  the judicial exception itself. See 2014 Interim Guidance, p. 21 ("The following are examples of
  these considerations, which are not intended to be exclusive or limiting.") (emphasis added).
                           This, however, is not a case "where general-purpose computer components are
  added post-hoc to a fundamental economic practice or mathematical equation. Rather, the claims
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   are directed to a specific implementation of a solution to a problem in the software arts." Enfish,
   at 18. The claimed invention is not directed to the abstract, mental, or manual concept, as alleged
   in the Office Action for at least the reasons noted above. Further, even if, arguendo, the claims
   were directed to the alleged abstract idea of "collecting information, analyzing it, and displaying
   certain results of the collection and analysis," as alleged in the Office Action, the claims as a
   whole amount to significantly more than the judicial exception, and more than mere generic
   computer functions. Office Action, 2. For example, the claims at least provide a computer with a
   specific process to identify and distribute information to a human-machine interface that assists
   in the matching of requestors and providers at a point of service. For example, claim 1 improves
   computer-human interfaces for on-demand matching systems by sending a selected identification
   element based on the estimated arrival time; where the identification element corresponds to at
   least an augmented reality presentation, an audio/visual presentation, and a vibration pattern;
   where the identification element is sent to a matched requestor computing device and provider
   computing device; and where the selected identification element enables dynamic presentation of
   information associated with the identification element via a user interface of each of the
   requestor computing device and the provider computing device. See claim 1.
                            As such, claim 1 is directed to a system that improves computer-human interfaces
   of on-demand transportation matching systems by sending selected identification elements to
   matched requestor and provider computing devices such that the selected identification element
   enables dynamic presentation of information associated with the selected identification element
   via a user interface of each of the requestor computing device and the provider computing
   device. Accordingly, in an environment where many requestors and providers exist at the same
   time, a specific requestor that is matched to a specific provider may determine their respective
   match when they both see information for the same identification element that is dynamically
   presented via their respective user interfaces, for instance.
                            Moreover, the Federal Circuit has cautioned that it is improper to designate claims
   as abstract merely because they recite language that appears known in the art:
                            The inventive concept inquiry requires more than recognizing that each
                            claim element, by itself, was known in the art. As is the case here, an
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                            inventive concept can be found in the non-conventional and non-generic
                            arrangement of known, conventional pieces.

  BASCOM, 14-15. In BASCOM, the Federal Circuit re-visited the significantly more analysis of
  Alice and held that claims may include specific discrete implementations that do not preempt all
   ways that may be abstract:
                            The claims do not merely recite the abstract idea of filtering content along
                            with the requirement to perform it on the Internet, or to perform it on a set
                            of generic computer components.

                            Nor do the claims preempt all ways of filtering content on the Internet;
                            rather, they recite a specific, discrete implementation of the abstract idea
                            of filtering content. Filtering content on the Internet was already a known
                            concept, and the patent describes how its particular arrangement of
                            elements is a technical improvement over prior art ways of filtering such
                            content.

  Id., 16.
                            Accordingly, even if, arguendo, the present claims are directed to the alleged
   abstract idea, the independent claims provide significantly more than the alleged abstract idea
   and are consistent with the holding in BASCOM and Example 34, Claim 1 in the December 2016
   Subject Matter Eligibility Examples. For example, a comparison of the present rejected claim 1,
   after amendments, and patent eligible claim 1 from Example 34 is reproduced below for
   reference.

   Present Application, Claim 1— Rejected                       Example 34, claim 1— Held Patent Eligible
   A method comprising:                                         A content filtering system for filtering content
         sending, by a dynamic transportation                   retrieved from an Internet computer network
    matching system, transport request                          by individual controlled access network
    information to a provider computing device                  accounts, said filtering system comprising:
    of the provider, the transport request                         a local client computer generating network
    information including a request location                    access requests for said individual controlled
    associated with a requestor computing                       access network accounts;
    device;                                                        at least one filtering scheme;
         determining, by the dynamic                               a plurality of sets of logical filtering
   transportation matching system, an                           elements; and
    estimated arrival time for the provider;                       a remote ISP server coupled to said client

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         selecting, by the dynamic                            computer and said Internet computer network,
    transportation matching system, an                        said ISP server associating each said network
    identification element from one or more                   account to at least one filtering scheme and at
    available identification elements based on                least one set of filtering elements, said ISP
    the estimated arrival time, the identification            server further receiving said network access
    element corresponding to at least an                      requests from said client computer and
    augmented reality presentation, an                        executing said associated filtering scheme
    audio/visual presentation, or a vibration                 utilizing said associated set of logical filtering
    pattern; and                                              elements.
         sending the identification element to
    the requestor computing device and the
    provider computing device, the
    identification element enabling dynamic
    presentation of information associated with
    the identification element via a user
    interface of each of the requestor
    computing device and the provider
    computing device.

                            In Example 34, claim 1 was deemed to be directed to an abstract idea and that the
   claim limitations "do not amount to significantly more when `taken individually, [because they]
   recite generic computer, network and Internet components, none of which is inventive by itself'
  Id. at 3. Even so, the claim was upheld as eligible because "the analysis under Step 2B (also
   called the "inventive concept inquiry") requires more than determining that each additional claim
   element... is well known by itself." Id. at 3-4 (emphasis added). As such, an "inventive concept"
   was found "in the unconventional and non-generic combination of known elements, and more
   specifically, `the installation of a filtering tool at a specific location, remote from the end-users,
   with customizable filtering features specific to each end user' where the filtering tool at the ISP
   is able to `identify individual accounts that communicate with the ISP server, and to associate a
   request for Internet content with a specific individual account.'" Id. at 4 (emphasis added).
   Similarly, when viewing these claim limitations of presently submitted claim 1 as an ordered
   combination, there are unconventional and non-generic elements including at least: using one or
   more available identification elements based on the estimated arrival time; the identification
   element comprising at least an augmented reality presentation, an audio/visual presentation, or a
   vibration; and the identification element enabling dynamic presentation of information associated
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   with the identification element via a user interface of each of the requestor computing device and
   the provider computing device. These features improve the efficiency and effectiveness of a ride
   matching system, which Applicant submits is not "well known or conventional."
                            More accurate and specific matching of providers and requestors provides
   advantages over previous systems. This ordered combination of steps using at least the
   identification element comprising at least an augmented reality presentation, an audio/visual
   presentation, or a vibration pattern; and the identification element enabling dynamic presentation
   of information associated with the identification elementvia a user interface of each of the
   requestor computing device and the provider computing device is not well-known, routine, or
   conventional and arises from the unique problems being faced by network connected providers
   and requestors connected through a matching system.
                            For at least the above reasons, Applicant submits that the claims are patent
   eligible since the claims as a whole, considering all claim elements both individually and in
   combination, are directed to an inventive concept and provide significantly more than the alleged
   abstract idea — "collecting information, analyzing it, and displaying certain results of the
   collection and analysis" — described in the Office Action. Office Action, 2-3.
                            Accordingly, for at least the reasons provided herein, Applicant submits that
   claim 1 is are directed to patent eligible subject matter and request withdrawal of the present
   rejections.

             B.           Independent Claims 12 And 19

                            Independent claims 12 and 19 include similar claim language to independent
   claim 1. As such, Applicant respectfully submits that claims 12 and 19 are patent eligible for at
   least similar reasons as claim 1. Accordingly, Applicant respectfully submits that claims 12 and
   19 are patent eligible under 35 U.S.C. § 101. Withdrawal of the pending rejection under 35
   U.S.C. § 101 to these claims is, therefore, respectfully requested.




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             C.           Dependent Claims 2-11, 13-18, And 20-22
                            Further, claims 2-11, 13-18, and 20-22 each depend, directly or indirectly, from
   claims 1, 12, and 19 described above. Accordingly, Applicant respectfully submits that claims 2-
   11, 13-18, and 20-22 are patent eligible for similar reasons discussed with respect to claims 1,
   12, and 19, but also for at least depending from patent eligible claims 1, 12, and 19. In addition,
   Applicant respectfully submits that subject matter of claims 2-11, 13-18, and 20-22 additionally
   recite patent eligible subject.
                            For at least reasons discussed above, Applicant respectfully submits that claims 2-
   11, 13-18, and 20-22 are patent eligible under 35 U.S.C. § 101. Withdrawal of the pending
   rejections of these claims is, therefore, respectfully requested.

   III.        Claims 1, 5-8, 10, 12, 15, 17-19, 21, And 22 Are Allowable Under 35 U.S.C. § 103

                            The Office Action additionally rejects claims 1, 5-8, 10, 12, 15, 17-19, 21, and 22
   under 35 U.S.C. § 103 for allegedly being unpatentable over Lubeck (U.S. Publication No.
   20160293012) in view ofMagazinik (U.S. Publication No. 20170052034). This rejection is
   traversed.

                            With regard to rejections under 35 U.S.C. § 103, the Examiner must provide
   evidence which as a whole shows that the legal determination sought to be proved (i.e., the
   reference teachings establish a prima facie case of obviousness) is more probable than not.
   M.P.E.P. § 2142. Accordingly, "the key to supporting any rejection under 35 U.S.C. § 103 is the
   clear articulation of the reason(s) why the claimed invention would have been obvious."
   M.P.E.P. § 2142; see KSR International Co. v. Teleflex, Inc., 550 U.S.398 (2007).

             A.           Independent claim 1

                            Claim 1, as amended, recites:

                                   A method comprising:
                                   sending, by a dynamic transportation matching system, transport
                            request information to a provider computing device of the provider, the


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                            transport request information including a request location associated with
                            a requestor computing device;
                                    determining, by the dynamic transportation matching system, an
                            estimated arrival time for the provider;
                                    selecting, by the dynamic transportation matching system, an
                            identification element from one or more available identification elements
                            based on the estimated arrival time, the identification element
                            corresponding to at least one of an augmented reality presentation, an
                            audio/visual presentation, or a vibration pattern; and
                                    sending the identification element to the requestor computing
                            device and the provider computing device, the identification element
                            enabling dynamic presentation of information associated with the
                            identification element via a user interface of each of the requestor
                            computing device and the provider computing device.

                            The Office Action admits that Lubeck does not disclose "selecting, by the
   dynamic transportation matching system, an identification element from one or more available
   identification elements based on the estimated arrival time," but cites to Magazinik to allege this
   disclosure:
                            However, Magazinik discloses in [0037] "In various embodiments, the
                            driver may specify that from a particular time onwards (e.g., immediately
                            upon specification by the driver, at a time scheduled by a driver such as
                            4:30 PM, or at an optimum time determined by the backend system 116
                            based on current and/or historical passenger conditions) he desires to only
                            take routes that will bring him closer to the destination location. In some
                            embodiments, the driver may specify a time associated with arrival at the
                            destination location. For example, the time may be a time before which the
                            driver desires to arrive at the destination location or a target time for
                            arriving at the destination location (which could be specified as a single
                            time or a time range).

   Office Action, 6-8. The Office Action appears to rely on an estimated arrival time of a driver, in
  Magazinik, as the identification element of claim 1. However, such interpretation is improper for
   two reasons — first, identification element, as plainly interpreted, provides a requestor with the
   ability to identify the provider; and second, because claim 1 includes distinct features of "the
   estimated arrival time" and "the identification element," — and Magazinik, in combination with
   Lubeck, does not disclose an identification element and does not disclose the two distinct
   features.
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                            As to the first reason described above, Applicant submits the estimated arrival
   time is plainly understood to be a time that the driver may arrive at a location, but that such a
   time provides no identification as to which provider (and vehicle) is matched to a requestor. The
   estimated arrival time is merely coincidental and does not provide the requestor with an ability to
   distinguish from multiple vehicles arriving at the same time at a same pick-up location, for
   instance. Applicant previously explained that that claim 1 resolves an issue where, in on-demand
   matching systems, when multiple providers and requestors exist at a point of service, it is
   difficult for providers and requestors to identify one another at the point of service and such
   difficulty leads to fraud and safety problems. Specification, ¶ [0002] & [0023]. When the
   multiple providers are at the same point of service at the same time, the use of an expected
   arrival time or pick-up time alone leads to fraud and safety problems. Id. The separation of the
   expected arrival time or pick-up time, and the identification element resolves the above issue.
   Accordingly, Applicant submits that claim 1 requires an identification element that is plainly
   understood to be a way for a requestor to identify the provider. Magazinik's estimated arrival
   time does not provide identification. For at least this reason, Lubeck in view of Magazinik fails to
   teach or suggest "selecting . . . an identification element from one or more available
   identification elements based on the estimated arrival time, the identification element
   corresponding to at least one of an augmented reality presentation, an audio/visual presentation,
   or a vibration pattern," as partly in claim 1.
                            As to the second reason listed above, Magazinik' s system provides an estimated
   pick-up time that is based on driver's location or a time at which the driver intends to pick-up a
   passenger:
                            Each request may include any suitable information, such as any
                            combination of one or more of an identification of the passenger making
                            the request, the time the request was made, the current location of the
                            passenger, the desired pick-up location, the desired pick-up time, the
                            estimated time remaining until a driver can pick up the passenger, the
                            actual pick-up time, the desired destination location of the passenger
                            (which the passenger may or may not provide at the time the request is
                            made), the type of vehicle requested, estimated fare for the trip, current
                            accumulated fare for the trip, estimated time and mileage remaining in the
                            trip, other information specified by the user (e.g., requested merchandise,
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                            requested minimum rating of driver), whether a driver has been assigned
                            to a request, and which driver has been assigned to a request.

  Magazinik, ¶ [0050]. However, applying the estimated arrival time from Magazinik to claim 1
   would render the identification element of claim 1 as superfluous with the estimated arrival time.
   The Federal Circuit has held that, when examining claims, in the absence of any evidence to the
   contrary, a presumption exists that the use of different terms in the claims connotes different
   meanings. CAE, 1317 (Fd. Ct. 2000). There is no contrary disclosure in Applicant's specification
   as to this limitation in claim 1. Further, when examining claims, "[a]ll words in a claim must be
   considered in judging the patentability of that claim against the prior art." M.P.E.P. § 2143.03
   (citing In re Wilson, 424 F.2d 1382, 1385 (CCPA 1970)). The cited references, taken alone or in
   combination, fail to disclose "selecting, by the dynamic transportation matching system, an
   identification element from one or more available identification elements based on the estimated
   arrival time." For this additional reason, Lubeck in view of Magazinik fails to teach or suggest
   each and every limitation as plainly interpreted in claim 1.
                            Accordingly, reliance on Magazinik to cure the admitted deficiency in Lubeck is
   improper and Lubeck in view of Magazinik fails to teach or suggest at least the above recited
   feature of amended claim and, for at least this reason, Applicant respectfully requests withdrawal
   of this rejection.

             B.           Independent Claims 12 And 19
                            Applicant respectfully submits that claims 12 and 19 are allowable over the cited
   combination for at least similar reasons including some of those discussed above in connection
   with claim 1. Thus, Applicant respectfully submits that the proposed combination of Lubeck and
  Magazinik, does not teach or suggest each and every claim element recited in claims 12 and 19.
   Therefore, Applicant respectfully submits that claims 12 and 19 are allowable under 35 U.S.C. §
   103 over Lubeck in view of Magazinik. Withdrawal of the pending rejection under 35 U.S.C. §
   103 is, therefore, respectfully requested.

             C.           Dependent Claims 5-8, 10, 15, 17, 18, 21, And 22

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                            Dependent claims 5-8, 10, 15, 17, 18, 21, and 22 each depend, directly or
   indirectly, from one of claims 1, 12, and 19 described above. Accordingly, Applicant respectfully
   submits that claims 5-8, 10, 15, 17, 18, 21, and 22 are allowable at least for depending from an
   allowable independent claim. In addition, Applicant respectfully submits that at least some of
   claims 5-8, 10, 15, 17, 18, 21, and 22additionally recite patentable subject matter not taught or
   otherwise rendered obvious by Lubeck and Magazinik, taken individually or in combination.
                            In addition to the above, as to claims 5, 18, and 22, these claims include variations
   of using the identification element to display graphics comprising at least one of a color, a
   pattern, an image, a hologram, or a pattern of colors. As noted with respect to claim 1, 12, and
   19, the Office Action admits that Lubeck is deficient with respect to an identification element,
   but alleges that Magazinik discloses the identification element by virtue of its estimated arrival
   time. Office Action, 6-8; Magazinik, ¶ [0050]. While Applicant disputes that the estimated
   arrival time is an identification element because it does not provide a requestor with the ability to
   identify a provider, Applicant also submits that Magazinik does not disclose that its estimated
   arrival time is an identification element that is used to display graphics comprising at least one of
   a color, a pattern, an image, a hologram, or a pattern of colors, as in claims 5, 18, and 22.
                            For at least reasons discussed above, Applicant respectfully submits that claims 5-
   8, 10, 15, 17, 18, 21, and 22 are allowable under 35 U.S.C. § 103 over Lubeck and Magazinik.
   Withdrawal of the pending rejections of these claims is, therefore, respectfully requested.

   IV.         Dependent Claims 2, 13, And 16 Are Allowable Under 35 U.S.C. § 103

                            The Office Action rejects claims 2, 13, and 16 under 35 U.S.C. § 103 for
   allegedly being unpatentable over Lubeck in view of Magazinik, and further in view of Konig
   (U.S. Publication No. 20150339923). This rejection is traversed.
                            Dependent claims 2, 13, and 16 each depend, directly or indirectly, from one of
   claims 1 and 12 described above. Accordingly, Applicant respectfully submits that claims 2, 13,
   and 16 are allowable at least for depending from an allowable independent claim. In addition,
   Applicant respectfully submits that at least some subject matter in claims 2, 13, and 16 are
   patentable subject matter not taught or otherwise rendered obvious by Lubeck in view of
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  Magazinik, further in view of Konig, taken individually or in combination. Applicant submits
   that Konig fails to remedy the deficiencies of Lubeck and Magazinik described above in
   reference to claim 1. Accordingly, Applicant submits that the combination of Lubeck, Magazinik,
   and Konig (alone or in combination) fail to teach or suggest each and every claim element of
   claims 2, 13, and 16 for at least the same reasons as claim 1.
                            For at least reasons discussed above, Applicant respectfully submits that claims 2,
   13, and 16 are allowable under 35 U.S.C. § 103 over Lubeck in view of Magazinik, further in
   view of Konig. Withdrawal of the pending rejections of these claims is, therefore, respectfully
   requested.

   V.          Dependent Claims 3, 4, 9, 14, And 20 Are Allowable Under 35 U.S.C. § 103

                            The Office Action rejects claims 3, 4, 9, 14, and 20 under 35 U.S.C. § 103 for
   allegedly being unpatentable over Lubeck in view of Magazinik, further in view of Konig, and
   further in view of Pavlov (U.S. Publication No. 20080114629). These rejections are traversed for
   at least the reasons below.
                            Dependent claims 3, 4, 9, 14, and 20 each depend, directly or indirectly, from one
   of claims 1, 12, and 19 described above. Accordingly, Applicant respectfully submits that claims
   3, 4, 9, 14, and 20 are allowable at least for depending from an allowable independent claim. In
   addition, Applicant respectfully submits that at least some subject matter in claims 3, 4, 9, 14,
   and 20 are patentable subject matter not taught or otherwise rendered obvious by Lubeck in view
   of Magazinik, further in view of Konig, and further in view of Pavlov, taken individually or in
   combination. Applicant submits that Pavlov fails to remedy the deficiencies of Konig, Lubeck
   and Magazinik described above in reference to claims 1, 12, and 19. Accordingly, Applicant
   submits that the combination of Lubeck, Magazinik, Konig and Pavlov (alone or in combination)
   fail to teach or suggest each and every claim element of claims 3, 4, 9, 14, and 20 for at least the
   same reasons as claims 1, 12, and 19.
                            For at least reasons discussed above, Applicant respectfully submits that claims 3,
   4, 9, 14, and 20 are allowable under 35 U.S.C. § 103 over Lubeck in view of Magazinik, further


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   in view of Konig, and further in view of Pavlov. Withdrawal of the pending rejections of these
   claims is, therefore, respectfully requested.

   VI.         Dependent Claim 11 Is Allowable Under 35 U.S.C. § 103

                            The Office Action rejects claim 11 under 35 U.S.C. § 103 for allegedly being
   unpatentable over Lubeck in view of Magazinik, further in view of Konig, and further in view of
  Ikeda (U.S. Publication No. 201600117610). This rejection is traversed for at least the reasons
   below.
                            Dependent claim 11 depends from claim 1 described above. Accordingly,
   Applicant respectfully submits that claim 11 is allowable at least for depending from an
   allowable independent claim. In addition, Applicant respectfully submits that at least some
   subject matter in claim 11 is patentable subject matter not taught or otherwise rendered obvious
   by Lubeck in view of Magazinik, further in view of Konig, and further in view of Ikeda, taken
   individually or in combination. Applicant submits that Ikeda fails to remedy the deficiencies of
  Konig, Lubeck and Magazinik described above in reference to claim 1. Accordingly, Applicant
   submits that the combination of Lubeck, Magazinik, Konig and Ikeda (alone or in combination)
   fail to teach or suggest each and every claim element of claim 11 for at least the same reasons as
   claim 1.
                            For at least reasons discussed above, Applicant respectfully submits that claim 11
   is allowable under 35 U.S.C. § 103 over Lubeck in view of Magazinik, further in view of Konig,
   and further in view of Ikeda. Withdrawal of the pending rejections of these claims is, therefore,
   respectfully requested.

   VII.        Amendment to the claims

                            Unless otherwise specified or addressed in the remarks section, amendments to
   the claims are made for purposes of clarity, and are not intended to alter the scope of the claims
   or limit any equivalents thereof. The amendments are supported by the specification and do not
   add new matter. In addition, by focusing on specific claims and claim elements in the discussion
   above, Applicant does not imply that other claim elements are disclosed or suggested by the
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   references. In addition, any characterizations of claims and/or cited art are being made to
   facilitate expeditious prosecution of this application. Applicant reserves the right to pursue at a
   later date any other broader or narrower claims that capture any subject matter supported by the
   present disclosure, including subject matter found to be specifically disclaimed herein or by
   another prosecution. Accordingly, reviewers of this or any child or related prosecution history
   shall not reasonably infer that Applicant has made any disclaimers or disavowals of any subject
   matter supported by the present disclosure.

                                                       Conclusion

                            In view of the foregoing, Applicant believes all claims now pending in this
   Application are in condition for allowance. The issuance of a formal Notice of Allowance at an
   early date is respectfully requested.

                            Further, the Commissioner is hereby authorized to charge any additional fees or
   credit any overpayment in connection with this paper to Deposit Account No. 50-6734.

                            If the Examiner believes a telephone conference would expedite prosecution of
   this application, please telephone the undersigned at 212-918-3209.

                                                                 Respectfully submitted,


                                                                 /Sanjiva K. Reddy/
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    Amendments to the Claims:

    This listing of claims will replace all prior versions, and listings of claims in the application:

                             1. (Currently Amended) A method comprising:
                             sending, by a dynamic transportation matching system, transport request
    information to a provider computing device of the provider, the transport request information
    being associated with a requestor computing device, the transport request information including
    a request location associated with [[the]] a requestor computing device;
                             determining, by the dynamic transportation matching system, a provider an
    estimated arrival time for the provider;
                             selecting, by the dynamic transportation matching system, an identification
    element from one or more available identification elements based on the provider estimated
    arrival time, the identification element corresponding to at least one of an augmented reality
    presentation, an audio/visual presentation, or a vibration pattern;
                             Lending a provider ride match response including the identification element to the
    provider computing device; and
                             sending a requestor ride match response including the identification element to
    the requestor computing device and the provider computing device, the identification element
    enabling dynamic presentation of information associated with the identification element via a
    user interface of each of the requestor computing device and the provider computing device.


                             2. (Currently Amended) The method of claim 1, wherein selecting [[an]] the
    identification element from the one or more available identification elements based on the
    provider estimated arrival time further comprises:
                             determining, by the dynamic transportation matching system, one or more
    locations within a distance threshold of the request location;
                             searching one or more data stores including matched rides for one or more
    matched rides associated with any of the one or more locations;
                             identifying a set of conflicting matched rides associated with one of the one or
    more locations;
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                             identifying at least one conflicting matched ride from the set of conflicting
    matched rides based on the provider estimated arrival time; and
                             identifying, by the dynamic transportation matching system, the one or more
    available identification elements based on one or more assigned identification elements
    associated with the at least one conflicting matched ride.

                             3. (Currently Amended) The method of claim 2, further comprising:
                             identifying [[that]] the at least one conflicting matched ride that does not have an
    assigned identification element;
                             selecting a second available identification element from the one or more available
    identification elements;
                             identifying a second provider computing device associated with the at least one
    conflicting matched ride;
                             identifying a second requestor computing device associated with the at least one
    conflicting matched ride; and
                             sending an updated provider ride match response to the second provider
    computing device, the updated provider ride match response including the second identification
    element to the second provider computing device[[;]] and to the second requestor computing
    device
                             sending an updated requestor ride match response to the second requestor


    element.

                             4. (Currently Amended) The method of claim 2, wherein identifying the at least
    one conflicting matched ride from the set of conflicting matched rides based on the provider
    estimated arrival time further comprises:
                             identifying a matched ride estimated arrival time for each of the set of conflicting
    matched rides;
                             determining an arrival time difference by comparing the provider estimated

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    arrival time to the matched ride estimated arrival time for each of the set of conflicting matched
    rides; and
                             identifying at least one time conflict by determining that the arrival time
    difference for at least one of the set of conflicting matched rides is within an arrival time
    threshold.

                             5. (Currently Amended) The method of claim 1, wherein the identification
    element is used to display graphics corresponding to the augmented reality presentation or the
    audio/visual presentation, on a display via the user interface of each of the provider computing
    device and the requestor computing device, and wherein the graphics include comprise at least
    one of a color, a pattern, an image, a hologram, or a pattern of colors corresponding to the
    identification element.

                             6. (Currently Amended) The method of claim [[1]] 5, wherein the identification
    element is used to play audio corresponding to the one or more sounds on the provider
    computing device and the requestor computing device and wherein a volume of the audio, a pitch
    of the audio, or a rate of play of the audio on each of the provider computing device and the
    requestor computing device increases as the provider computing device approaches the requestor
    computing device.

                             7. (Currently Amended) The method of claim 1, wherein the provider computing
    device causes graphics corresponding to the identification element to be displayed on a front
    display of a provider communication device.

                             8. (Original) The method of claim 2, wherein identifying the one or more
    available identification elements further comprises:
                             identifying an assigned identification element associated with each of the at least
    one conflicting matched ride;
                             obtaining a list of identification elements associated with the dynamic
    transportation matching system; and

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                             removing each of the assigned identification elements from the list of
    identification elements.

                             9. (Currently Amended) The method of claim 2, wherein selecting [[an]] the
    identification element from the one or more available identification elements further comprises:
                             identifying a highest ranked identification element from the one or more available
    identification elements; and
                             selecting the highest ranked identification element.

                             10. (Currently Amended) The method of claim 1, wherein the provider estimated
    arrival time is based on a navigation route to the request location, and wherein the navigation
    route is determined by the dynamic transportation matching system or is provided by a third
    party.

                             11. (Previously Presented) The method of claim 1, wherein graphics associated
    with the identification element are displayed by the provider computing device once the provider
    computing device is within a distance threshold of the requestor computing device.

                             12. (Currently Amended) A method comprising:
                             receiving, by a server computer, a ride match associated with a requestor
    computing device and a provider computing device, the ride match being associated with a
    request location;
                             determining an estimated arrival time for the provider to arrive at the request
    location;
                             selecting an available identification element based at least in part on an assigned
    identification element associated with a previously matched ride, the available identification
    element corresponding to at least one of an augmented reality presentation, an audio/visual
    presentation, or a vibration pattern; and
                             providing, by the server computer, the available identification element to the
    requestor computing device and the provider computing device, the available identification

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    element enabling dynamic presentation of information associated with the available
    identification element via a user interface of each of the requestor computing device and the
    provider computing device.

                             13. (Currently Amended) The method of claim 12, wherein selecting the available
    identification element based at least in part on [[an]] the assigned identification element
    associated with [[a]] the previously matched ride further comprises:
                             identifying the previously matched ride having a previously matched request
    location within a distance threshold from the request location;
                             identifying a matched ride estimated arrival time for the previously matched ride;
                             determining that the matched ride estimated arrival time is within a time threshold
    of the provider estimated arrival time of the provider; and
                             identifying the assigned identification element associated with the previously
    matched ride.

                             14. (Currently Amended) The method of claim 12, wherein selecting the available
    identification element based at least in part on [[an]] the assigned identification element
    associated with [[a]] the previously matched ride further comprises:
                             identifying a plurality of available identification elements;
                             identifying a highest ranked identification element from the plurality of available
    identification elements; and
                             selecting the highest ranked identification element.

                             15. (Original) The method of claim 14, wherein identifying the plurality of
    available identification elements further comprises:
                             identifying the assigned identification element associated with the previously
    matched ride;
                             obtaining a list of identification elements associated with the dynamic
    transportation matching system; and
                             removing the assigned identification element from the list of identification
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    elements.

                             16. (Currently Amended) The method of claim [[12]] 13, wherein identifying [[a]]
    the previously matched ride having [[a]] the previously matched request location within [[a]] the
    distance threshold from the request location further comprises:
                             determining a plurality of locations within a distance threshold [[of]] from the
    request location; and
                             searching one or more data stores including a plurality of matched rides for one or
    more matched rides associated with any of the plurality of locations.

                             17. (Currently Amended) The method of claim 12, wherein determining [[an]] the
    provider estimated arrival time for the provider to the request location further comprises:
                             mapping a navigation route from the location of the provider computing device to
    the request location; and
                             calculating the provider estimated arrival time of the provider based at least in
    part on the navigation route and traffic information.

                             18. (Currently Amended) The method of claim 12, wherein the available
    identification element is used to display graphics corresponding to the augmented reality
    presentation or the audio/visual presentation, on a display via the user interface of each of the
    requestor computing device and to display graphics on a display of the provider computing
    device, and wherein the graphics comprise at least one of a color, a pattern, an image, a
    hologram, or a pattern of colors.

                             19. (Currently Amended) A dynamic transportation matching system comprising:
                             a processor; and
                             a computer-readable medium comprising code, executable by the processor, to
    cause the dynamic transportation matching system to:
                                         receive a ride match message associated with a requestor computing
                device and a provider computing device, the ride match message including a request

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    Amdt. dated August 7, 2017
    Reply to Office Action of May 5, 2017

                location associated with a ride match;
                                         identify at least one previously matched ride having a previously matched
                request location within a distance threshold from the request location;
                                         select an available identification element based at least in part on one or
                more assigned identification elements associated with the at least one previously matched
                ride, the available identification element corresponding to at least one of an augmented
                reality presentation, an audio/visual presentations, or a vibration pattern; and
                                         provide the available identification element to the requestor computing
                device and the provider computing device, the available identification element enabling
                dynamic presentation of information associated with the available identification element
                via a user interface of each of the requestor computing device and the provider computing
                device.

                             20. (Currently Amended) The system of claim 19, wherein selecting the available
    identification element further comprises:
                             identifying a plurality of available identification elements;
                             identifying a highest ranked identification element from the plurality of available
    identification elements; and
                             selecting the highest ranked identification element.

                             21. (Original) The system of claim 20, wherein identifying the plurality of
    available identification elements further comprises:
                             identifying an assigned identification element associated with the previously
    matched ride;
                             obtaining a list of identification elements associated with the dynamic
    transportation matching system; and
                             removing the assigned identification element from the list of identification
    elements.



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                             22. (Currently Amended) The system of claim 20, wherein the available
    identification element is used to display graphics corresponding to the augmented reality
    presentation or the audio/visual presentation, on a display via the user interface of each of the
    requestor computing device, wherein the identification element is used to display the graphics on
    a display of and the provider computing device, and wherein the graphics comprise at least one
    of include a color, a pattern, an image, a hologram, or a pattern of colors corresponding to the
    identification element.




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   Case 1:20-cv-01629-RGA-JLH Document 17-2 Filed 02/23/21 Page 30 of 62 PageID #: 366
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   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.      CONFIRMATION NO.

       15/396,417               12/30/2016              Ethan Duncan Eyler      042342.000036                  1050


       143902           7590             05/05/2017
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       San Francisco, CA 94111                                                    ART UNIT                 PAPER NUMBER

                                                                                     3628


                                                                              NOTIFICATION DATE        DELIVERY MODE

                                                                                  05/05/2017               ELECTRONIC



Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address(es):
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PTOL-90A (Rev. 04/07)
        Case 1:20-cv-01629-RGA-JLH Document 17-2 Filed 02/23/21 Page 31 of 62 PageID #: 367
                                                                                    Application No.                               Applicant(s)
                                                                                    15/396,417                                    EYLER ET AL.
                     Office Action Summary                                          Examiner                                      Art Unit           AIA (First Inventor to File)
                                                                                                                                                     Status
                                                                                    AKIBA ALLEN                                   3628
                                                                                                                                                     Yes
                -- The MAILING DATE of this communication appears on the cover sheet with the correspondence address --
 Period for Reply
    A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE 3 MONTHS FROM THE MAILING DATE OF
 THIS COMMUNICATION.
        - Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
          after SIX (6) MONTHS from the mailing date of this communication.
        - If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
        - Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
          Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
          earned patent term adjustment. See 37 CFR 1.704(b).

 Status
    1)Z Responsive to communication(s) filed on 12/30/16.
        ❑ A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on
      2a)Z This action is FINAL.                 2b)0 This action is non-final.
       3)0 An election was made by the applicant in response to a restriction requirement set forth during the interview on
                 ; the restriction requirement and election have been incorporated into this action.
       4)0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
           closed in accordance with the practice under Ex parte Quayle, 1935 C.D. 11, 453 O.G. 213.
 Disposition of Claims*
    5)E1 Claim(s) 1-22 is/are pending in the application.
          5a) Of the above claim(s)         is/are withdrawn from consideration.
    6)0 Claim(s)           is/are allowed.
    7)E1  Claim(s)  1-22 is/are rejected.
    8)0 Claim(s)           is/are objected to.
    9)0 Claim(s)           are subject to restriction and/or election requirement.
 * If any claims have been determined allowable, you may be eligible to benefit from the Patent Prosecution Highway program at a
 participating intellectual property office for the corresponding application. For more information, please see
 httpliwwwusptagovipatents/init events/pphlindex.jsp or send an inquiry to PPI-lteedback@usptaaov.

 Application Papers
   10)0 The specification is objected to by the Examiner.
   11)0 The drawing(s) filed on         is/are: a)E accepted or bElobjected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                 Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121(d).

 Priority under 35 U.S.C. § 119
   12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
     Certified copies:
                   b)0 Some** c)1=1 None of the:
           1.0 Certified copies of the priority documents have been received.
           2.0 Certified copies of the priority documents have been received in Application No.        .
           3.0 Copies of the certified copies of the priority documents have been received in this National Stage
                 application from the International Bureau (PCT Rule 17.2(a)).
 ** See the attached detailed Office action for a list of the certified copies not received.




 Attachment(s)
 1) Z       Notice of References Cited (PTO-892)                                                   3) ❑   Interview Summary (PTO-413)
                                                                                                          Paper No(s)/Mail Date.
 2) Z       Information Disclosure Statement(s) (PTO/SB/08a and/or PTO/SB/08b)
            Paper No(s)/Mail Date
                                                                                                   4) Z   Other:   bib data sheet.
U.S. Patent and Trademark Office
PTOL-326 (Rev. 11-13)                                              Office Action Summary                                          Part of Paper No./Mail Date 20170426
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          The present application, filed on or after March 16, 2013, is being examined

   under the first inventor to file provisions of the AIA.

                                           DETAILED ACTION

                                             Status of Claims

   1.     Due to communications filed 12/30/16, the following is a non-final first office

   action. Due to a pre-amendment filed 1/17/17, claims 1, 2, 4, 10-12 are amended.

   Claims 1-22 are pending in this application and have been examined on the merits.

   Claims 1-22 are rejected as follows.


                                  Claim Rejections - 35 USC § 101

   2.     35 U.S.C. 101 reads as follows:

          Whoever invents or discovers any new and useful process, machine, manufacture, or
          composition of matter, or any new and useful improvement thereof, may obtain a patent
          therefor, subject to the conditions and requirements of this title.


   3.     Claims 1-22 are rejected under 35 U.S.C. 101 because the claimed invention is

   directed to a judicial exception (i.e., a law of nature, a natural phenomenon, or an

   abstract idea) without significantly more. Claim(s) 1, 12, and 19 are directed to the

   abstract idea of collecting information, analyzing it, and displaying certain results of the

   collection and analysis (Electric Power Group), as shown by the "sending",

   "determining," "selecting", "sending", "sending" limitations in claim 1, the "receiving",

   "determining", "selecting" and "providing" limitations of claim 12, and the "receive",

   "identify", "select", and "provide" limitations of claim 19. This abstract idea similar to

   abstract ideas found by the courts, including "certain methods of organizing human

   activity" because the claim is directed to managing relationships or transactions
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   between people and activities in a transportation system. See July 2015 Update:

   Interim Eligibility Guidance Quick Reference Sheet. Applicant is reminded that

   examples of abstract ideas include at least fundamental economic practices, certain

   methods of organizing human activities, an idea of itself, and mathematical

   relationships/formulas. See Alice Corp,. v. CLS Bank Int'L 573 U. S,...(2014).

             The claim(s) does/do not include additional elements that are sufficient to amount

   to significantly more than the judicial exception because they recite computer elements

   including computing devices in claim 1, server computer and computing devices in claim

   12, and processor, computer-readable medium and, a computer readable memory, and

   a computer readable storage medium, computing devices in claim 19, however, these

   computer elements operate as generic computer components whose implementation

   would be routine in any computerized embodiment. Accordingly, the elements, both

   alone and in combination, do not amount to significantly more than the abstract idea

   itself.

             Dependent claims 2-11, 13-18, and 20-22 are further directed to the particulars of

   the abstract idea.


                                 Claim Rejections - 35 USC § 103

   4.        In the event the determination of the status of the application as subject to AIA 35

   U.S.C. 102 and 103 (or as subject to pre-AIA 35 U.S.C. 102 and 103) is incorrect, any

   correction of the statutory basis for the rejection will not be considered a new ground of

   rejection if the prior art relied upon, and the rationale supporting the rejection, would be

   the same under either status.
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   5.     The following is a quotation of 35 U.S.C. 103 which forms the basis for all

   obviousness rejections set forth in this Office action:

          A patent for a claimed invention may not be obtained, notwithstanding that the claimed
          invention is not identically disclosed as set forth in section 102, if the differences between the
          claimed invention and the prior art are such that the claimed invention as a whole would have
          been obvious before the effective filing date of the claimed invention to a person having
          ordinary skill in the art to which the claimed invention pertains. Patentability shall not be
          negated by the manner in which the invention was made.


   6.     Claims 1-22 is/are rejected under 35 U.S.C. 103 as being unpatentable over

   Lubeck (US 20160293012) or US 9392418 B2, and further in view of Magazinik (US

   20170052034 Al).


                   As per claim 1, Lubeck discloses:


                   sending, by a dynamic transportation matching system, transport request

   information to a provider computing device, the transport request information

   being associated with a requestor computing device, the transport request information

   including a request location associated with the requestor computing device, ([0011],

   sending a request for transportation services to the computer through the

   communications network using a first communications device having geographic

   location; sending the geographic location of the first communications device to the

   computer through the wireless communications network; storing the request and the

   determined location on the computer; transmitting the stored request and location of the

   first communications device to at least one transportation provider having a wireless

   communications device through the wireless communications network; [0029] FIG. 2 is

   a flow diagram illustrating a typical request for transportation services using the
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   apparatus illustrated in FIG. 1 hereof in the absence of a dispatcher. A request, 200,

   from a requester MD, which may be a cell phone, is communicated to the known

   network address of a computer system (CS). As an example, the CS address may be

   the URL of a website and the CS and MDs communicate over the Internet with IP

   addresses. Requests may contain information giving the geographical location and a

   unique MD identification which may be the MD phone number. The request may contain

   additional information such as the destination location of the transportation request, the

   method of payment, and specific characteristics of what is to be transported.

   Characteristics may also include the number of individuals to be transported, the size

   and weight of packages to be delivered, a future time for the service to be performed

   and/or the type of material to be transported. The identification and location may be

   communicated periodically.);


                 determining, by the dynamic transportation matching system, a provider

   estimated arrival time, (clm 21 of Lubeck shows "wherein the information includes an

   estimated time of arrival of the transportation provider and a geographic location of the

   transportation provider that can be displayed on a map on the screen of the second

   wireless mobile communications device,");


                 sending a provider ride match response including the identification

   element to the provider computing device; and sending a requestor ride match response

   including the identification element to the requestor computing device, ([0044] FIG. 3

   illustrates an application of the present invention to requesting transportation services
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   from a taxicab, without the services of a dispatcher. Requester 300, located on

   55.sup.th Street, wishes to acquire the services of a taxi, although no taxicab is visible

   to requester 300. The MDs of taxis 302 and 304 automatically and periodically

   wirelessly communicate their location information to CS 104 through network 106. The

   request for transportation services from requester 300 is achieved by the requester

   pushing a button on his or her programmable cell phone, and in step 306, the "hail a

   taxi" request is sent to computer system CS 104 which is receiving and tracking all

   active taxi locations. In steps 308a and 308b, the request is simultaneously forwarded to

   taxis 302 and 304, respectively. It should be mentioned, that all taxis in a county, city or

   borough, depending on the geographical size of these administrative entities, might

   receive the request. In step 310, taxi 302 decides to pick up requester 300 and sends a

   confirming signal to CS 104. In step 312, CS 104 confirms to requester 300 that a taxi is

   on the way. Computer system 104 also communicates the confirmation to taxi 304 in

   step 314. As stated hereinabove, multiple requests from requester 300 would be

   rejected by CS 104. Additionally, location information for taxi 302 may be provided to

   requester 300.).


                 Lubeck does not specifically disclose selecting, by the dynamic

   transportation matching system, an identification element from one or more available

   identification elements based on the provider estimated arrival time.


          However, Magazinik discloses in [0037] "In various embodiments, the driver may

   specify that from a particular time onwards (e.g., immediately upon specification by the
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   driver, at a time scheduled by a driver such as 4:30 PM, or at an optimum time

   determined by the backend system 116 based on current and/or historical passenger

   conditions) he desires to only take routes that will bring him closer to the destination

   location. In some embodiments, the driver may specify a time associated with arrival at

   the destination location. For example, the time may be a time before which the driver

   desires to arrive at the destination location or a target time for arriving at the destination

   location (which could be specified as a single time or a time range). In various

   embodiments, the driver may enter a time that may apply to multiple different days,

   such as a default time. For example, the driver may specify that he wishes to be home

   by 6:00 PM each day. In particular embodiments, the driver may also specify a time in

   an ad hoc manner, e.g., by specifying that he needs to be at a doctor's appointment by

   noon on a particular day. In a particular embodiment, application logic 220 may provide

   or sync with a calendar (e.g., a Google Calendar or Microsoft Outlook calendar)

   associated with the driver and may derive destination locations and/or times that the

   driver needs to be at the destination locations based on calendar entries. In various

   embodiments, a calendar entry may be used to present a prospective location and/or

   time to the driver, which the driver may then select as the destination location and/or

   associated time. In other embodiments, the driver mobile application may automatically

   select a location and/or time from a calendar entry as the destination location and/or

   time without driver intervention. In various embodiments, commonly used times may be

   stored by driver mobile device 108. In particular embodiments, application logic 220

   may be configured (e.g., by the driver) to automatically accept requests from a
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   passenger that has a route that would allow the driver to transport the passenger and

   still arrive at the driver's destination location by the specified time.




                  It would have been obvious to one of ordinary skill in the art at the time of

   the invention to include the selection of an identification element based on the provider

   estimated arrival time as taught by Magazinik in the system of Lubeck, since the

   claimed invention is merely a combination of old elements, and in the combination each

   element merely would have performed the same function as it did separately, and one

   of ordinary skill in the art would have recognized that the results of the combination

   were predictable.


                  As per claims 5, 22, Lubeck does not specifically disclose:


                 wherein the identification element is used to display graphics on a display

   of the provider computing device and the requestor computing device and wherein the

   graphics include a color, a pattern, an image, or a pattern of colors corresponding to the

   identification element. However, Magazinik discloses in [0012] "Each mobile device can

   include at least one graphical display and user interface allowing a user to view and

   interact with applications and other programs of the mobile device." In this case, the

   color, a pattern, an image, or a pattern of colors is inherent with the disclosure of a

   graphical display.
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                 It would have been obvious to one of ordinary skill in the art at the time of

   the invention to include display graphics on a display as taught by Magazinik in the

   system of Lubeck, since the claimed invention is merely a combination of old elements,

   and in the combination each element merely would have performed the same function

   as it did separately, and one of ordinary skill in the art would have recognized that the

   results of the combination were predictable.


                 As per claim 6, Lubeck does not specifically disclose:


                 wherein the identification element is used to play audio on the provider

   computing device and the requestor computing device and wherein a volume of the

   audio, a pitch of the audio, or a rate of play of the audio on each of the provider

   computing device and the requestor computing device increases as the

   provider computing device approaches the requestor computing device.


                 As per claim 7, Lubeck does not specifically disclose:


                 wherein the provider computing device causes graphics corresponding to

   the identification element be displayed on a front display of a provider communication

   device.


                 However, Magazinik discloses in [0012] "Each mobile device can include

   at least one graphical display and user interface allowing a user to view and interact

   with applications and other programs of the mobile device." In this case, the color, a
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   pattern, an image, or a pattern of colors is inherent with the disclosure of a graphical

   display.


                 It would have been obvious to one of ordinary skill in the art at the time of

   the invention to include display graphics on a display as taught by Magazinik in the

   system of Lubeck, since the claimed invention is merely a combination of old elements,

   and in the combination each element merely would have performed the same function

   as it did separately, and one of ordinary skill in the art would have recognized that the

   results of the combination were predictable.




                 As per claims 8, 15, 21, Lubeck discloses:


                 wherein identifying the one or more available identification elements

   further comprises:


          identifying an assigned identification element associated with each of the at least

   one conflicting matched ride; obtaining a list of identification elements associated with

   the dynamic transportation matching system; and removing each of the assigned

   identification elements from the list of identification elements, (The Table on Page 4

   shows "Dropoff The transporter signals that dropoff has occurred and service has been

   completed, wherein the service fare is communicated and whereby the transporter

   confirm message is erased; ... Requester The requester signals cancellation of the

   previously sent Cancel request; a stop message is automatically sent. Transporter The
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   transporter signals cancellation of the previously Cancel sent confirmation message.

   Stop The requester/transporter signals the end of the communication with network,

   whereby any request and location information is erased from storage.").




                 As per claim 10, Lubeck does not specifically disclose:


                 wherein the provider estimated arrival time is based on a navigation route

   to the request location, and wherein the navigation route is determined by the dynamic

   transportation matching system or is provided by a third party.


                 However, Magazinik discloses in [0052] Navigational data 324 may

   comprise information supporting navigation functions provided by the taxi passenger

   applications and driver passenger applications. For example, navigational data 324 may

   comprise map data that may be sent to passenger mobile devices 104 and driver

   mobile devices 108 to allow the devices to display maps and associated indicators (e.g.,

   location of passenger(s), location of driver(s), desired routes, etc.) In some

   embodiments, the navigational data may also comprise information indicative of the

   amount of time required to travel between various locations. In some embodiments,

   navigational data 324 may comprise historic and/or real time data about the flow of

   traffic in particular areas enabling backend server 302 to calculate an estimated time

   required to travel from one location to another.
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                 It would have been obvious to one of ordinary skill in the art at the time of

   the invention to include using navigation to determine an estimated time of arrival as

   taught by Magazinik in the system of Lubeck, since the claimed invention is merely a

   combination of old elements, and in the combination each element merely would have

   performed the same function as it did separately, and one of ordinary skill in the art

   would have recognized that the results of the combination were predictable.




                 As per claim 12, this claim recites limitations similar to those disclosed by

   claim 1, and is therefore rejected for the same reasons.




                 As per claim 17, Lubeck does not specifically disclose:


                 wherein determining a provider estimated arrival time for the provider to

   the request location further comprises:


                 mapping a navigation route from the location of the provider computing

   device to the request location; and


                 calculating the provider estimated arrival time based at least in part on the

   navigation route and traffic information.
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                 However, Magazinik discloses in [0054] In various embodiments, backend

   server 302 may access third party services 306 through business logic 328 to access

   data 330. Third party services 306 may represent any suitable number of devices

   operated by any suitable number of third parties that are distinct from an entity that

   operates the backend system 116 and/or data store 304. For example, in some

   embodiments the navigational data may be obtained from a third party service 306

   rather than data store 304, or additional third party navigational data such as map data

   or historical and/or current traffic flow information may be used to supplement

   navigational data 324. As another example, third party services 306 may authenticate

   users on behalf of the backend server 302 (e.g., through an account of the user with the

   third party). Business logic 328 may comprise any suitable logic operable to receive

   requests for data from backend system 116 and/or mobile devices 104 and 108 and

   provide responses to the requests.; [0057] Once the request has been accepted by a

   driver, the backend server 302 notifies the passenger that a driver has accepted his

   request and provides any suitable information associated with the driver (e.g., driver's

   current location, model and color of vehicle, estimated time of arrival, etc.) to the

   passenger.


                 It would have been obvious to one of ordinary skill in the art at the time of

   the invention to include using navigation to determine an estimated time of arrival as

   taught by Magazinik in the system of Lubeck, since the claimed invention is merely a

   combination of old elements, and in the combination each element merely would have
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   performed the same function as it did separately, and one of ordinary skill in the art

   would have recognized that the results of the combination were predictable.


                 As per claim 18, Lubeck does not specifically disclose:


                 wherein the identification element is used to display graphics on a display

   of the requestor computing device and to display graphics on a display of the provider

   computing device.


                 However, Magazinik discloses in [0012] "Each mobile device can include

   at least one graphical display and user interface allowing a user to view and interact

   with applications and other programs of the mobile device." In this case, the color, a

   pattern, an image, or a pattern of colors is inherent with the disclosure of a graphical

   display.


                 It would have been obvious to one of ordinary skill in the art at the time of

   the invention to include display graphics on a display as taught by Magazinik in the

   system of Lubeck, since the claimed invention is merely a combination of old elements,

   and in the combination each element merely would have performed the same function

   as it did separately, and one of ordinary skill in the art would have recognized that the

   results of the combination were predictable.


                 As per claim 19, this claim recites similar features to those disclosed in

   claim 1, and is therefore rejected for the same reasons.
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   7.     Claims 2, 13 is/are rejected under 35 U.S.C. 103 as being unpatentable over

   Lubeck (US 20160293012) or US 9392418 B2, and further in view of Magazinik (US

   20170052034 Al), and further in view of Konig (US 20150339923 Al)


                 As per claim 2, Lubeck discloses:


                 searching one or more data stores including matched rides for one or

   more matched rides associated with any of the one or more locations, (L[0005] The

   delivery of service information to a mobile device where a person is notified of a

   personalized service based on previously stored subscriber profile information has been

   described, an example being hotel selection based on subscriber room requirements.

   However, the user must already be registered as a subscriber, and must enter

   subscriber preferences for storage prior to the provision of service information, thereby

   limiting the usefulness and availability of this service. Location-dependent matching of

   mobile communication devices where mobile devices are automatically matched by a

   central server based on user profiles has also been described. Applications of this

   procedure include a central server matching a passenger requesting taxi service to a

   nearby available taxi and dispatching a taxi thereto.);


                 Lubeck does not specifically disclose the following:


                 However, Magazinik discloses:


                 wherein selecting an identification element from one or more available

   identification elements based on the provider estimated arrival time further comprises:
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                 determining, by the dynamic transportation matching system, one or more

   locations within a distance threshold of the request location, ([0039] The driver may also

   specify whether he is willing to consider exceptions, that is, routes that may result in the

   driver arriving late to the destination location and/or routes that may take the driver

   further from the destination location. For example, the driver may specify that he is

   willing to accept a customer that would make the driver late or take the driver further

   from the destination location if the estimated fare for the customer's route is above a

   particular threshold. As another example, the driver may specify that he is willing to

   accept a customer with a route that would result in the driver arriving at the destination

   location within a specified threshold of time after the time specified by the driver (e.g.,

   no more than 5 minutes late) or that would result in taking the driver further from the

   destination location by a threshold distance (e.g., no more than 5 miles));


                 It would have been obvious to one of ordinary skill in the art at the time of

   the invention to disclose a distance threshold as taught by Magazinik in the system of

   Lubeck, since the claimed invention is merely a combination of old elements, and in the

   combination each element merely would have performed the same function as it did

   separately, and one of ordinary skill in the art would have recognized that the results of

   the combination were predictable.


                 Neither Lubeck nor Magazinik disclose the following:


                 identifying a set of conflicting matched rides associated with one of the

   one or more locations;
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                 identifying at least one conflicting matched ride from the set of conflicting

   matched rides based the provider estimated arrival time; and


                identifying, by the dynamic transportation matching system, one or more

   available identification elements based on one or more assigned identification elements

   associated with the at least one conflicting matched ride.


                 However, Konig (US 20150339923 Al) discloses in [0089] The method

   may comprise assigning a match value to each pair of a vehicle and vehicle request of

   the cluster, and matching vehicles to vehicle requests in a manner so as to maximise

   the match value between the allocated pairs of vehicles and vehicle requests over the

   vehicle requests of the cluster. The match value may be a parameter that is a function

   of the various factors taken into account in the matching process. The match value may

   be based on estimated time of arrival of a vehicle at a pick-up location for a request

   and/or one or more of driver preferences, user preferences, historical user behaviour,

   historical driver behaviour, and system preferences. These may be of any of the types

   described above. Different factors may be assigned different weight in determining the

   match value. The weight attributed to estimated time of arrival relative to one or more

   other factor may be specified by a user and/or driver. The function may be arranged in

   any manner to balance conflicting preferences.


                 It would have been obvious to one of ordinary skill in the art at the time of

   the invention to disclose the above limitations as taught by Konig in the system of

   Lubeck, since the claimed invention is merely a combination of old elements, and in the
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   combination each element merely would have performed the same function as it did

   separately, and one of ordinary skill in the art would have recognized that the results of

   the combination were predictable.


                   As per claim 13, Lubeck does not specifically disclose:


                   wherein selecting the available identification element based at least in part

   on an assigned identification element associated with a previously matched ride further

   comprises:


                   identifying the previously matched ride having a previously matched

   request location within a distance threshold from the request location;


       identifying a matched ride estimated arrival time for the previously matched ride;


                   determining the matched ride estimated arrival time is within a time

   threshold of the provider estimated arrival time; and


                   identifying the assigned identification element associated with the

   previously


   matched ride.


   However, Konig discloses in [0087] It is recognised that time of arrival is not the only

   factor that is important to users, whether in relation to immediate or scheduled requests,

   and in some cases a user may prefer to wait longer for a vehicle to arrive, if the vehicle
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   meets certain other criteria. Alternatively or additionally, one or more other criteria may

   be taken into account when matching vehicles to vehicle requests. The other criteria

   may include preferences of vehicle drivers. This may provide matching which balances

   the preferences of users and drivers. The matching step may also take into account

   system preferences, such as preferences based on historical performance of drivers, or

   other preferences based on the operation of the system as a whole. For example, the

   step may favour providing more reliable drivers with more profitable trips. The criteria

   may take into account historical driver or user behaviour. Historical driver behaviour

   may relate to historical driving style, e.g. whether aggressive or sedate. Historical user

   behaviour may relate to a previous trips taken, historical preferences expressed, etc.

   Historical user behaviour may relate to user specified preferences or preferences

   inferred from previous trips. In embodiments data indicative of historical user and/or

   driver behaviour may be stored for use in the matching process. The identity of a user

   or driver may be indicated by a first device associated with a vehicle request, or a

   second device associated with a vehicle.


                 It would have been obvious to one of ordinary skill in the art at the time of

   the invention to disclose the above limitations as taught by Konig in the system of

   Lubeck, since the claimed invention is merely a combination of old elements, and in the

   combination each element merely would have performed the same function as it did

   separately, and one of ordinary skill in the art would have recognized that the results of

   the combination were predictable.
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                 As per claim 16, Lubeck does not specifically disclose:


                 wherein identifying a previously matched ride having a previously matched

   request location within a distance threshold from the request location further comprises:


                 determining a plurality of locations within a distance threshold of the

   request location; and searching one or more data stores including a plurality of matched

   rides for one or more matched rides associated with any of the plurality of locations.


                 Konig discloses in [0047] In general, in accordance with the invention,

   preferably the step of generating the one or more clusters takes into account a

   geographical distribution, e.g. a spatial density of the plurality of vehicle requests and/or

   of the vehicles. The geographical distribution of the plurality of vehicle requests is

   determined using a location associated with each vehicle request. Preferably the

   geographic distribution of the vehicle requests is determined using the first location data

   associated with the requests. The first location data is preferably indicative of a pick-up

   location as set out above. Of course, the geographical distribution might alternatively or

   additionally be determined using another location associated with a vehicle request e.g.

   a drop-off location. The use of a pick-up location is preferred as this is most relevant to

   matching available vehicles to vehicle requests in a manner that optimises waiting time.

   The geographical distribution of the vehicles in a region may be determined based on

   the current location data for the vehicles. In particularly preferred embodiments the step

   of generating the one or more clusters takes into account a geographical distribution,

   and preferably a spatial density, of the vehicles. It has been found that taking into
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   account a geographical distribution of vehicles is useful in generating clusters, as the

   spatial density of vehicles available for fulfilling vehicle requests will influence the extent

   to which vehicle requests in respect of spaced apart locations, e.g. pick-up locations

   may be considered together for matching purposes. If the spatial density of vehicle is

   high, the likelihood is that there will be a vehicle in proximity to a given pick-up location,

   so a cluster may be built up from vehicle requests relating to relatively closely spaced

   locations, e.g. pick-up locations. As the requests in a cluster will be matched as a group

   to vehicles, there is no benefit in considering requests relating to locations at a greater

   distance, as it is unlikely that a vehicle will be a good match for such trips as well as

   those for the more closely spaced locations.


                 It would have been obvious to one of ordinary skill in the art at the time of

   the invention to disclose the above limitations as taught by Konig in the system of

   Lubeck, since the claimed invention is merely a combination of old elements, and in the

   combination each element merely would have performed the same function as it did

   separately, and one of ordinary skill in the art would have recognized that the results of

   the combination were predictable.


   8.     Claims 3, 4, 9 is/are rejected under 35 U.S.C. 103 as being unpatentable over

   Lubeck (US 20160293012) or US 9392418 B2, and further in view of Magazinik (US

   20170052034 Al), and further in view of Konig (US 20150339923 Al), and further in

   view of Pavlov (US 20080114629 Al).
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                 As per claim 3, Lubeck in view of Magazinik in view of Konig fail to

   disclose the following limitations:


                 identifying that the at least one conflicting matched ride does not have an


   assigned identification element;


                 selecting a second available identification element from the one or more

   available identification elements;


                 identifying a second provider computing device associated with the at

   least one conflicting matched ride;


                 identifying a second requestor computing device associated with the at

   least one conflicting matched ride;


                 sending an updated provider ride match response to the second provider

   computing device, the updated provider ride match response including the

   second identification element; and


                 sending an updated requestor ride match response to the second

   requestor computing device, the updated requestor ride match response including the

   second identification element.


                 However, Pavlov discloses these limitations as shown:
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                 [0039] At 1, the user A 110A may communicate to the service provider

   servers 240 their availability to share transportation with a second user from origin x to

   destination y, at date/time z. The service provider servers 240 may display the

   transportation share request of the user A 110A to the other users 110B-N if there is a

   transportation provider 120A-N currently available to supply transportation from origin x

   to destination y at date/time z. If there is no transportation provider 120A-N available,

   the service provider servers 240 may communicate that to the user A 110A that no

   transportation providers 120A-N are available for transport from origin x, to destination y

   at date/time z. At 2 the user B 110B may view the user A 110A availability to share

   transportation from origin x to destination y, at date/time z, and may communicate to the

   service provider servers 240 a request to share transportation with the user A 110A. If

   the user B 110B is traveling to a destination different than the user A 110A destination

   y, then the user B 110B may communicate their destination to the service provider

   servers 240.; [0040] At 3, the service provider servers 240 may notify user A 110A of

   the user B 110B transportation share request. The user A 110A may accept or decline

   the user B 110B transportation share request. The user A 110A decision may be based

   on a user reputation value of the user B 110B. The user B 110B reputation value may

   be based on the opinions of other users 110A-N who have previously shared

   transportation with the user B 110B. The user reputation value may assist the users

   110A-N in determining whether to share transportation with the user B 110B.; [0042]

   The user A 110A may also base their decision on the proximity to the user B 110B

   destination if the user B 110B destination differs from the user A 110A destination y.
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   The user A 110A may desire to only share transportation with a user whose destination

   is within a certain proximity of the user A 110A destination y, or within a certain

   proximity of the route the user A 110A may take to their destination y. The user A 110A

   may be able to set a proximity preference. If the user B 110B destination is not within

   the user A 110A set proximity of the user A 110A route or destination, the user B 110B

   may not be able to request a transportation share with the user A 110A or the user A

   110A may not appear to the user B 110B as available for sharing transportation.; [0043]

   At 4 the user A 110A may communicate to the service provider servers 240 an

   acceptance of the user B 110B transportation share request. At 5, the service provider

   servers 240 may notify the user B 110B that the user A 110A accepted their

   transportation share request. After being matched with the user B 110B, the user A

   110A may choose to either close their transportation share availability, or leave their

   transportation availability open for more users to join.; [0067] At block 465, the service

   provider servers 240 may match the user A 110 A and the user B 110B to the

   transportation provider A 120A. At block 470, the service provider servers 240 may

   request acceptance of the transportation provider A 120A from the user A 110A and the

   user B 110B. For instance, the service provider servers 240 may communicate an email

   to the user A 110A and the user B 110B with one link corresponding to accepting the

   transportation provider A 120A and one link corresponding to declining the

   transportation provider A 120A. One or both of the user A 110A and the user B 110B

   may need to communicate an acceptance of the transportation provider A 120A.
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   It would have been obvious to one of ordinary skill in the art at the time of the invention

   to disclose the above limitations as taught by Pavlov in the system of Lubeck, since the

   claimed invention is merely a combination of old elements, and in the combination each

   element merely would have performed the same function as it did separately, and one

   of ordinary skill in the art would have recognized that the results of the combination

   were predictable.




                 As per claim 4, Lubeck in view of Magazinik in view of Konig fail to

   disclose the following limitations:


                 wherein identifying at least one conflicting matched ride from the set

   of conflicting matched rides based on the provider estimated arrival time further

   comprises:


                 identifying a matched ride estimated arrival time for each of the set of

   conflicting matched rides;


                 determining an arrival time difference by comparing the provider estimated

   arrival time to the matched ride estimated arrival time for each of the set of

   conflicting matched rides; and
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                 identifying at least one time conflict by determining that the arrival time

   difference for at least one of the set of conflicting matched rides is within an arrival

   time threshold.


                 However, Pavlov discloses:


                 [0091] After the user A 110A and the user B 110B accept the

   transportation provider A 120A, the system 200 may move to blocks 580, 576, 572, and

   592. Blocks 580, 576, and 572 may operate in a loop to repeatedly, such as constantly

   or periodically, determine whether certain threshold levels have been passed until the

   date/time z arrives.; [0108] If the transportation provider A 120A cancellation threshold

   was not exceeded, the system 200 may move to block 665. At block 665 the system

   200 may determine whether the current time equals or surpasses the date/time z, the

   date/time when the transportation provider A 120A is to provide transportation to the

   users 110A-N. If the date/time z has not arrived, the system 200 may move to block 655

   and may continue to check for cancellation threshold exceeds. If the current date/time is

   equal to or has surpassed the date/time z, the system 200 may move to block 670.




   It would have been obvious to one of ordinary skill in the art at the time of the invention

   to disclose the above limitations as taught by Pavlov in the system of Lubeck, since the

   claimed invention is merely a combination of old elements, and in the combination each

   element merely would have performed the same function as it did separately, and one
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   of ordinary skill in the art would have recognized that the results of the combination

   were predictable.


                 As per claims 9, 20 Lubeck does not specifically disclose:


                 wherein selecting an identification element from the one or more available

   identification elements further comprises:


          identifying a highest ranked identification element from the one or more available

   identification elements; and


                 selecting the highest ranked identification element.


                 However, Pavlov discloses in [0028] The match between the user A 110A

   and the user B 110B and a transportation provider 120A-N may be based on a

   relevance value for each transportation provider 120A-N. The relevance value may be

   calculated by determining the best fit between the preferences of the user A 110A and

   the user B 110B and the preferences of each transportation provider 120A-N. The

   preferences may include ranking or valuating different characteristics of a transportation

   provider 120A-N, such as the importance of the fare cost, the importance of reliability,

   the importance of punctuality, or generally any characteristic of a transportation provider

   120A-N, or lack there of, that may be of important to a user 110A-N. The relevance

   value may be a numerical value or a percentage. The relevance value may then be

   multiplied by the user fee of each transportation provider 120A-N to determine a total
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   score. The transportation provider 120A-N with the highest total score may be assigned

   the user A 110A and the user B 110B.


   It would have been obvious to one of ordinary skill in the art at the time of the invention

   to disclose the above limitations as taught by Pavlov in the system of Lubeck, since the

   claimed invention is merely a combination of old elements, and in the combination each

   element merely would have performed the same function as it did separately, and one

   of ordinary skill in the art would have recognized that the results of the combination

   were predictable.


                 As per claim 14, Lubeck does not specifically disclose:


                 wherein selecting the available identification element based at least in part

   on an assigned identification element associated with a previously matched ride further

   comprises:


                 identifying a plurality of available identification elements; identifying a

   highest ranked identification element from the plurality of available identification

   elements; and


                 selecting the highest ranked identification element.


          elements,


                 However, Pavlov discloses in [0028] The match between the user A 110A

   and the user B 110B and a transportation provider 120A-N may be based on a
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   relevance value for each transportation provider 120A-N. The relevance value may be

   calculated by determining the best fit between the preferences of the user A 110A and

   the user B 110B and the preferences of each transportation provider 120A-N. The

   preferences may include ranking or valuating different characteristics of a transportation

   provider 120A-N, such as the importance of the fare cost, the importance of reliability,

   the importance of punctuality, or generally any characteristic of a transportation provider

   120A-N, or lack there of, that may be of important to a user 110A-N. The relevance

   value may be a numerical value or a percentage. The relevance value may then be

   multiplied by the user fee of each transportation provider 120A-N to determine a total

   score. The transportation provider 120A-N with the highest total score may be assigned

   the user A 110A and the user B 110B.


   It would have been obvious to one of ordinary skill in the art at the time of the invention

   to disclose the above limitations as taught by Pavlov in the system of Lubeck, since the

   claimed invention is merely a combination of old elements, and in the combination each

   element merely would have performed the same function as it did separately, and one

   of ordinary skill in the art would have recognized that the results of the combination

   were predictable.


   9.     Claims 11 is/are rejected under 35 U.S.C. 103 as being unpatentable over

   Lubeck (US 20160293012) or US 9392418 B2, and further in view of Magazinik (US

   20170052034 Al), and further in view of Konig (US 20150339923 Al), and further in

   view of Ikeda (US 20160117610 Al).
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                 As per claim 11, Lubeck does not specifically disclose:


                 wherein graphics associated with the identification element are displayed

   by the provider computing device once the provider computing device is within a

   distance threshold of the requestor computing device.


                 However, Ikeda discloses in [0170] The GPS unit 34 measures the current

   position of the vehicle every time the vehicle travels a predetermined distance, or every

   time the vehicle travels for a predetermined time, or every time a combination of the

   traveled distance and time is satisfied. The communication control unit 31 sends to the

   transportation service reservation apparatus 10 the position information of the vehicle

   obtained as a result of the measurement performed by the GPS unit 34. The vehicle

   control unit 128 of the transportation service reservation apparatus 10 stores the

   received position information in the vehicle information storage unit 132 in

   correspondence with identification information of the vehicle at the sending source of

   the position information. As a result, the transportation service reservation apparatus 10

   can recognize the approximate current position of each vehicle. The product generating

   unit 123 may generate the product by taking into consideration the position information

   of each vehicle. In addition, the position information of the vehicle may be sent to the

   user terminal 20, and the position of the vehicle where the user is scheduled to board

   may be displayed on the user terminal 20. In this case, the user may easily find the

   vehicle the user is scheduled to board.
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   It would have been obvious to one of ordinary skill in the art at the time of the invention

   to output information based on a distance threshold as taught by Ikeda in the system of

   Lubeck, since the claimed invention is merely a combination of old elements, and in the

   combination each element merely would have performed the same function as it did

   separately, and one of ordinary skill in the art would have recognized that the results of

   the combination were predictable.

                                           Conclusion

   10.    Any inquiry concerning this communication or earlier communications from the

   examiner should be directed to Akiba Allen whose telephone number is 571-272-6734.

   The examiner can normally be reached on Monday-Friday 9am-5:30pm.

          If attempts to reach the examiner by telephone are unsuccessful, the examiner's

   supervisor, Kevin Flynn can be reached on 571-270-3108. The fax phone number for

   the organization where this application or proceeding is assigned is 571-273-8300.

   Information regarding the status of an application may be obtained from the

   •Patent Application Information Retrieval (PAIR) system, Status information for

   published applications may be obtained from either Private PAIR or Public PAIR. Status

   information for unpublished applications is available through Private PAIR only. For

   more information about the PAIR system, see http://pair-direct.uspto.gov. Should you

   have questions on access to the Private PAIR system, contact the Electronic Business

   Center (EBC) at 866-217-9197 (toll-free). If you would like assistance from a USPTO

   Customer Service Representative or access to the automated information system, call

   800-786-9199 (IN USA OR CANADA) or 571-272-1000.
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           Any inquiry of a general nature or relating to the status of this application or

   proceeding should be directed to the receptionist whose telephone number is 703-305-

   3900.




   May 2, 2017




   /Akiba K Allen/
   Primary Examiner, Art Unit 3628
